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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

LUMINATI NETWORKS LTD.                          §
                                                §
       v.                                       §          Case No. 2:18-CV-0483-JRG
                                                §
BI SCIENCE, INC.                                §

      JOINT MOTION FOR AMENDMENT OF PROTECTIVE ORDER AND
   AUTHORIZATION TO USE UNDER SEAL FILINGS IN ISRAEL PROCEEDING

       Plaintiff Luminati Networks Ltd. (“Plaintiff”) and Defendant BI Science (2009) Ltd., also

known as BI Science, Inc. (“Defendant”) (collectively, “the Parties”) respectfully request that the

Court amend the Protective Order to define “Related Proceeding” as including the case captioned

Luminati Networks Ltd. v. B.I. Science (2009) Ltd., case no. 62712-05-20, filed in the District

Court in Tel Aviv, Israel (“Israel Proceeding”). In addition, the Parties respectfully request that

the Court permit the under seal April 13, 2020 hearing transcript, other under seal filings, and

protected materials including documents designated “CONFIDENTIAL” and/or “RESTRICTED

– ATTORNEYS’ EYES ONLY” be disclosed to (a) the Israel Proceeding counsel of record and

employees of such counsel assigned to are reasonably necessary to assist such counsel in the Israel

Proceeding, and (b) the Israel Proceeding Court and its personnel to the extent that such documents

are protected from disclosure outside the Court and its personnel in the Israel Proceeding.



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